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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

X.J., a minor, by his parent and natural
guardian, YESINIA NEGRON,
                           Plaintiff,

                 v.                                              Civil Action No. 22-1304

POLICE OFFICER KEEN, et al.,
                  Defendants.


                                ORDER APPROVING SETTLEMENT
                                           AND
                                   ORDER FOR DISTRIBUTION


    AND NOW, this 30th day of August , 2022, upon consideration of the foregoing Motion to

Approve Settlement and Compromise a Minor's Action the settlement of the minor's claim herein

is approved as follows:

    Total amount of settlement $15,000.00.

    To the minor Plaintiff, X.J., .......................................................................... $10,000.00

    To Patrick G. Geckle, Esquire, attorney's fees and costs..............................                 5,000.00

    The full amount of the minor's settlement funds shall be placed in a federally insured account

marked with the restriction that the funds "shall not be withdrawn until such time as the minor

attains his majority or upon further order of the Court.''


                                                           BY THE COURT:




                                                         {olf�i.J.
